TRANSCREIPPORDER Vota PoE PPguMent 57 Filed on 10/03/22 in TXSD Page 1 of 1

District Court $-0. TEX, HOUSTON DIV'N District Court Docket No. 4:21-cv-02591
Short Case Title Burke v. Ocwen et al

ONLY ONE COURT REPORTER PER FORM Court Reporter

 

 

Date Notice of Appeal Filed in the District Court Sep. 25, 2022 Court of Appeals No.

PART I. (To be completed by party ordering transcript. Do not complete this form unless financial arrangements have been made, see
instructions on page 2.)

A. Complete the Following:
i No hearings Transcript is unnecessary for appeal purposes C)Transcript is already on file in the Clerk’s Office

OR

Check all of the following that apply, include date of the proceeding.

This is to order a transcript of the following proceedings: OBail Hearing OVoir Dire
XOpening Statement of Plaintiff (Opening Statement of Defendant
(Closing Argument of Plaintiff OClosing Argument of Defendant:
K)Opinion of court LJury Instructions OCSentencing

Other i not listed above:
Heari i

   

J

B. This is to certify satisfactory financial arrangements have been made. Method of Payment:
Private Funds; (Criminal Justice Act Funds (Enter Authorization-24 via eVoucher):
OOther IFP Funds; (CAdvance Payment Waived by Reporter: OU.S. Government Funds

 

 

 

(JOther
Signature____”|O U be be DUK 2 Date Transcript Ordered N/A
Print Name JOANNA BURKE Phone 281-812-9591

 

 

Counsel for PROSE

Address 46 KINGWOOD GREENS DR., KINGWOOD, TX, 77339

Email of Attorney; joanna@2dobermans.com

PART II. COURT REPORTER ACKNOWLEDGMENT (To be completed by the court reporter and filed with the Court of
Appeals within 10 days after receipt. Read instructions on page 2 before completing.)

Date Transcript Order Date Satisfactory Arrangements Estimated Completion Date | Estimated Number of
Received for Payment were Made Pages

 

 

 

 

 

 

 

 

Payment arrangements have NOT been made or are incomplete.
Reason: OC Deposit not received 1 Unable to contact ordering party OD Awaiting creation of CJA 24 eVoucher

XOther (Specify)

 

Date Signature of Reporter Tel.
Email of Reporter

Part III. NOTIFICATION THAT TRANSCRIPT HAS BEEN FILED IN THE DISTRICT COURT (To be completed by
court reporter on date of filing transcript in the District Court. This completed form is to be-filed with the Court of Appeals.)

 

This is to certify that the transcript has been completed and filed at the District Court today.
Actual Number of Pages Actual Number of Volumes

Date Signature of Reporter

 
